Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 1 of 16 PageID 224




                          Attachment C
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 2 of 16 PageID 225




    28 CFR § 50.10 - Policy regarding
    obtaining information from or
    records of members of the news
    media; and regarding questioning,
    arresting, or charging members of
    the news media.
    § 50.10 Policy regarding obtaining information from or records
    of members of the news media; and regarding questioning,
    arresting, or charging members of the news media.
    (a) Statement of principles.
      (1) A free and independent press is vital to the functioning of our
      democracy. Because freedom of the press can be no broader than the
      freedom of members of the news media to investigate and report the
      news, the Department's policy is intended to provide protection to
      members of the news media from certain law enforcement tools and
      actions, whether criminal or civil, that might unreasonably impair
      newsgathering. The policy is not intended to shield from accountability
      members of the news media who are subjects or targets of a criminal
      investigation for conduct outside the scope of newsgathering.
      (2) The Department recognizes the important national interest in
      protecting journalists from compelled disclosure of information revealing
      their sources, sources they need to apprise the American people of the
      workings of their Government. For this reason, with the exception of
      certain circumstances set out in this section, the Department of Justice will
      not use compulsory legal process for the purpose of obtaining information
      from or records of members of the news media acting within the scope of
      newsgathering.
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 3 of 16 PageID 226




      (3) In determining whether to seek, when permitted by this policy,
      information from or records of members of the news media, the
      Department must consider several vital interests: protecting national
      security, ensuring public safety, promoting effective law enforcement and
      the fair administration of justice, and safeguarding the essential role of a
      free press in fostering Government accountability and an open society,
      including by protecting members of the news media from compelled
      disclosure of information revealing their sources. These interests have long
      informed the Department's view that the use of compulsory legal process
      to seek information from or records of non-consenting members of the
      news media constitutes an extraordinary measure, not a standard
      investigatory practice.
    (b) Scope and definitions -
      (1) Covered persons and entities. The policy in this section governs the
      use of certain law enforcement tools and actions, whether criminal or civil,
      to obtain information from or records of members of the news media.
      (2) Definitions.
        (i) Compulsory legal process consists of subpoenas, search warrants,
        court orders issued pursuant to 18 U.S.C. 2703(d) and 3123, interception
        orders issued pursuant to 18 U.S.C. 2518, civil investigative demands,
        and mutual legal assistance treaty requests - regardless of whether
        issued to members of the news media directly, to their publishers or
        employers, or to others, including third-party service providers of any of
        the forgoing, for the purpose of obtaining information from or records of
        members of the news media, and regardless of whether the compulsory
        legal process seeks testimony, physical or electronic documents,
        telephone toll or other communications records, metadata, or digital
        content.
        (ii) Newsgathering is the process by which a member of the news media
        collects, pursues, or obtains information or records for purposes of
        producing content intended for public dissemination.
          (A) Newsgathering includes the mere receipt, possession, or
          publication by a member of the news media of Government
          information, including classified information, as well as establishing a
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 4 of 16 PageID 227




          means of receiving such information, including from an anonymous or
          confidential source.
          (B) Except as provided in paragraph (b)(2)(ii)(A) of this section,
          newsgathering does not include criminal acts committed in the course
          of obtaining information or using information, such as: breaking and
          entering; theft; unlawfully accessing a computer or computer system;
          unlawful surveillance or wiretapping; bribery; extortion; fraud; insider
          trading; or aiding or abetting or conspiring to engage in such criminal
          activities, with the requisite criminal intent.
      (3) Exclusions.
        (i) The protections of the policy in this section do not extend to any
        person or entity where there is a reasonable ground to believe the
        person or entity is:
          (A) A foreign power or agent of a foreign power, as those terms are
          defined in section 101 of the Foreign Intelligence Surveillance Act of
          1978 (50 U.S.C. 1801);
          (B) A member or affiliate of a foreign terrorist organization designated
          under section 219(a) of the Immigration and Nationality Act (8 U.S.C.
          1189(a));
          (C) Designated as a Specially Designated Global Terrorist by
          the Department of the Treasury under Executive Order 13224 of
          September 23, 2001, 3 CFR, 2001 Comp., p. 786;
          (D) A specially designated terrorist as that term is defined in 31 CFR
          595.311;
          (E) A terrorist organization as that term is defined in section
          212(a)(3)(B)(vi) of the Immigration and Nationality Act (8 U.S.C.
          1182(a)(3)(B)(vi));
          (F) Committing or attempting to commit a crime of terrorism, as that
          offense is described in 18 U.S.C. 2331(5) or 2332b(g)(5);
          (G) Committing or attempting to commit the crimes of providing
          material support or resources to terrorists or designated foreign
          terrorist organizations, providing or collecting funds to finance acts of
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 5 of 16 PageID 228




          terrorism, or receiving military-type training from a foreign terrorist
          organization, as those offenses are defined
          in 18 U.S.C. 2339A, 2339B, 2339C, and 2339D; or
          (H) Aiding, abetting, or conspiring in illegal activity with a person or
          organization described in paragraphs (b)(3)(i)(A) through (G) of this
          section.
        (ii) The determination that an exclusion in paragraph (b)(3)(i) of this
        section applies must be made by the Assistant Attorney General for
        National Security.
    (c) Compulsory legal process for the purpose of obtaining information from
    or records of a member of the news media acting within the scope of
    newsgathering. Compulsory legal process for the purpose of obtaining
    information from or records of a member of the news media acting within
    the scope of newsgathering is prohibited except under the circumstances set
    forth in paragraphs (c)(1) through (3) of this section. (Note that the
    prohibition in this paragraph (c) on using compulsory legal process applies
    when a member of the news media has, in the course of newsgathering, only
    received, possessed, or published government information, including
    classified information, or has established a means of receiving such
    information, including from an anonymous or confidential source.) The
    Department may only use compulsory legal process for the purpose of
    obtaining information from or records of a member of the news media
    acting within the scope of newsgathering, as follows:
      (1) To authenticate for evidentiary purposes information or records that
      have already been published, in which case the authorization of a Deputy
      Assistant Attorney General for the Criminal Division is required;
      (2) To obtain information or records after a member of the news media
      agrees to provide or consents to the provision of the requested records or
      information in response to the proposed compulsory legal process, in
      which case authorization as described in paragraph (i) of this section is
      required; or
      (3) When necessary to prevent an imminent or concrete risk of death or
      serious bodily harm, including terrorist acts, kidnappings, specified
      offenses against a minor (as defined in 34 U.S.C. 20911(7)), or
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 6 of 16 PageID 229




      incapacitation or destruction of critical infrastructure (as defined in 42
      U.S.C. 5195c(e)), in which case the authorization of the Attorney General is
      required.
    (d) Compulsory legal process for the purpose of obtaining information from
    or records of a member of the news media not acting within the scope of
    newsgathering.
      (1) The Department may only use compulsory legal process for the
      purpose of obtaining information from or records of a member of the
      news media who is not acting within the scope of newsgathering:
        (i) When the member of the news media is the subject or target of an
        investigation and suspected of having committed an offense;
        (ii) To obtain information or records of a non-member of the news
        media, when the non-member is the subject or target of an investigation
        and the information or records are in a physical space, device, or
        account shared with a member of the news media;
        (iii) To obtain purely commercial, financial, administrative, technical, or
        other information or records unrelated to newsgathering; or for
        information or records relating to personnel not involved in
        newsgathering;
        (iv) To obtain information or records related to public comments,
        messages, or postings by readers, viewers, customers, or subscribers,
        over which a member of the news media does not exercise editorial
        control prior to publication;
        (v) To obtain information or records of a member of the news media
        who may be a victim of or witness to crimes or other events, or whose
        premises may be the scene of a crime, when such status (as a victim or
        witness or crime scene) is not based on or within the scope of
        newsgathering; or
        (vi) To obtain only subscriber and other information described in 18
        U.S.C. 2703(c)(2)(A), (B), (D), (E), and (F).
      (2) Compulsory legal process under paragraph (d)(1) of this section
      requires the authorization of a Deputy Assistant Attorney General for
      the Criminal Division, except that:
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 7 of 16 PageID 230




        (i) To obtain information or records after a member of the news media
        agrees to provide or consents to the provision of the requested records
        or information in response to the proposed compulsory legal process,
        such compulsory legal process requires authorization as described
        in paragraph (i) of this section governing voluntary questioning and
        compulsory legal process following consent by a member of the news
        media; and
        (ii) To seek a search warrant for the premises of a news media entity
        requires authorization by the Attorney General.
    (e) Matters where there is a close or novel question as to the person's or
    entity's status as a member of the news media or whether the member of
    the news media is acting within the scope of newsgathering.
      (1) When there is a close or novel question as to the person's or entity's
      status as a member of the news media, the determination of such status
      must be approved by the Assistant Attorney General for the Criminal
      Division.
      (2) When there is a close or novel question as to whether the member of
      the news media is acting within the scope of newsgathering, the
      determination of such status must be approved by the Assistant Attorney
      General for the Criminal Division. When the Assistant Attorney General
      finds that there is genuine uncertainty as to whether the member of the
      news media is acting within the scope of newsgathering, the determination
      of such status must be approved by the Attorney General.
    (f) Compelled testimony.
      (1) Except as provided in paragraph (f)(2) of this section, members of the
      Department must obtain the authorization of the Deputy Attorney General
      when seeking to compel grand jury or trial testimony otherwise permitted
      by this section from any member of the news media.
      (2) When the compelled testimony under paragraph (f)(1) of this section
      has no nexus to the person's or entity's activities as a member of the news
      media, members of the Department must obtain the authorization of a
      Deputy Assistant Attorney General for the Criminal Division and provide
      prior notice to the Deputy Attorney General.
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 8 of 16 PageID 231




      (3) Such authorization may only be granted when all other requirements of
      this policy regarding compulsory legal process have been satisfied.
    (g) Exhaustion.
      (1) Except as provided in paragraph (g)(2) of this section, the official
      authorizing the compulsory legal process must find the following
      exhaustion conditions are met:
        (i) The Government has exhausted all reasonable avenues to obtain the
        information from alternative, non-news-media sources.
        (ii) The Government has pursued negotiations with the member of the
        news media in an attempt to secure the member of the news media's
        consent to the production of the information or records to be sought
        through compulsory legal process, unless the authorizing official
        determines that, for compelling reasons, such negotiations would pose a
        clear and substantial threat to the integrity of the investigation or pose
        the risks described in paragraph (c)(3) of this section. Where the nature
        of the investigation permits, the Government must have explained to the
        member of the news media the Government's need for the information
        sought in a particular investigation or prosecution, as well as its
        willingness or ability to address the concerns of the member of the news
        media.
        (iii) The proposed compulsory legal process is narrowly drawn. It must
        be directed at material and relevant information regarding a limited
        subject matter, avoid interference with unrelated newsgathering, cover a
        reasonably limited period of time, avoid requiring production of a large
        volume of material, and give reasonable and timely notice of the
        demand as required by paragraph (j) of this section.
      (2) When the process is sought pursuant to paragraph (d)(1), (i), or (l) of this
      section, the authorizing official is not required to find that the exhaustion
      conditions in paragraphs (g)(1)(i) and (ii) of this section have been satisfied,
      but should consider requiring those conditions as appropriate.
    (h) Standards for authorizing compulsory legal process.
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 9 of 16 PageID 232




      (1) In all matters covered by this section, the official authorizing the
      compulsory legal process must take into account the principles set forth
      in paragraph (a) of this section.
      (2) Except as provided in paragraph (h)(3) of this section, when the
      member of the news media is not the subject or target of an investigation
      and suspected of having committed an offense, the official authorizing the
      compulsory legal process must take into account the following
      considerations:
    (i) In criminal matters, there must be reasonable grounds to believe, based
    on public information or information from non-news-media sources, that a
    crime has occurred, and that the information sought is essential to a
    successful investigation or prosecution. The compulsory legal process may
    not be used to obtain peripheral, nonessential, or speculative information.
    (ii) In civil matters, there must be reasonable grounds to believe, based on
    public information or information from non-news-media sources, that the
    information sought is essential to the successful completion of the
    investigation or litigation in a case of substantial importance. The compulsory
    legal process may not be used to obtain peripheral, nonessential, cumulative,
    or speculative information.
      (3) When paragraph (h)(2) of this section would otherwise apply, but the
      compulsory legal process is sought pursuant to paragraph (i) or (l) of this
      section, the authorizing official is not required to, but should, take into
      account whether the information sought is essential to a successful
      investigation, prosecution, or litigation as described in paragraphs (h)(2)(i)
      and (ii) of this section.
      (4) When the member of the news media is the subject or target of an
      investigation and suspected of having committed an offense, before
      authorizing compulsory legal process, the authorizing official is not
      required to, but should, take into account the considerations set forth in
      paragraphs (h)(2)(i) and (ii) of this section as appropriate.
        (i) Voluntary questioning and compulsory legal process following
        consent by a member of the news media.
      (1) When the member of the news media is not the subject or target of an
      investigation and suspected of having committed an offense, authorization
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 10 of 16 PageID 233




       by a United States Attorney or Assistant Attorney General responsible for
       the matter must be obtained in order to question a member of the news
       media on a voluntary basis, or to use compulsory legal process if the
       member of the news media agrees to provide or consents to the provision
       of the requested records or information in response to the proposed
       process. When there is any nexus to the person's activities as a member of
       the news media, such authorization must be preceded by consultation with
       the Criminal Division.
       (2) When the member of the news media is the subject or target of an
       investigation and suspected of having committed an offense, authorization
       by a Deputy Assistant Attorney General for the Criminal Division must be
       obtained in order to question a member of the news media on a voluntary
       basis, or to use compulsory legal process if the member of the news media
       agrees to provide or consents to the provision of the requested records or
       information in response to the proposed process.
     (j) Notice of compulsory legal process to the affected member of the news
     media.
       (1) Members of the Department must provide notice to the affected
       member of the news media prior to the execution of authorized
       compulsory legal process under paragraph (c) of this section unless the
       authorizing official determines that, for compelling reasons, such notice
       would pose the risks described in paragraph (c)(3) of this section.
       (2) Members of the Department must provide notice prior to the execution
       of compulsory legal process authorized under paragraphs (d)(1)(ii) through
       (vi) of this section to a member of the news media that is not the subject or
       target of an investigation and suspected of having committed an offense,
       unless the authorizing official determines that, for compelling reasons,
       such notice would pose a clear and substantial threat to the integrity of the
       investigation or would pose the risks described in paragraph (c)(3) of this
       section and so informs the Deputy Attorney General in advance.
       (3) If the member of the news media has not been given notice under
       paragraph (j)(1) or (2) of this section, the United States Attorney or
       Assistant Attorney General responsible for the matter must provide notice
       to the member of the news media as soon as it is determined that such
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 11 of 16 PageID 234




       notice would no longer pose the concerns described in paragraph (j)(1) or
       (2) of this section, as applicable.
       (4) In any event, such notice must be given to the affected member of the
       news media within 45 days of the Government's receipt of a complete
       return made pursuant to all forms of compulsory legal process included in
       the same authorizing official's authorization under paragraph (c) or (d)(1)(ii)
       through (vi) of this section, except that the authorizing official may
       authorize delay of notice for one additional 45-day period if the official
       determines that, for compelling reasons, such notice continues to pose the
       same concerns described in paragraph (j)(1) or (2) of this section, as
       applicable.
       (5) Members of the Department are not required to provide notice to the
       affected member of the news media of compulsory legal process that was
       authorized under paragraph (d)(1)(i) of this section if the affected member
       of the news media is the subject or target of an investigation and
       suspected of having committed an offense.
         (i) The authorizing official may nevertheless direct that notice be
         provided to the affected member of the news media.
         (ii) If the authorizing official does not direct that such notice be provided,
         the official must so inform the Deputy Attorney General, and members
         of the Department who are responsible for the matter must provide the
         authorizing official with an update every 90 days regarding the status of
         the investigation. That update must include an assessment of any harm
         to the investigation that would be caused by providing notice to the
         member of the news media. The authorizing official will consider such
         update in determining whether to direct that notice be provided.
       (6) Notice under the policy in this section may be given to the affected
       member of the news media or a current employer of that member if that
       employer is also a member of the news media.
       (7) A copy of any notice to be provided to a member of the news media
       shall be provided to the Director of the Office of Public Affairs and to the
       Director of the Criminal Division's Office of Enforcement Operations at
       least 10 business days before such notice is provided, and immediately
       after such notice is provided to the member of the news media.
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 12 of 16 PageID 235




     (k) Non-disclosure orders.
       (1) In seeking authorization to use compulsory legal process to obtain
       information from or the records of a member of the news media,
       members of the Department must indicate whether they intend to seek an
       order directing the recipient of the compulsory legal process not to
       disclose the existence of the compulsory legal process to any other person
       or entity and shall articulate the need for such non-disclosure order.
       (2) An application for a non-disclosure order sought in connection with
       compulsory legal process under paragraph (c) of this section may only be
       authorized if the authorizing official determines that, for compelling
       reasons, disclosure would pose the risks described in paragraph (c)(3) of
       this section and the application otherwise complies with applicable
       statutory standards and Department policies.
       (3) An application for a non-disclosure order sought in connection with
       compulsory legal process under paragraphs (d)(1)(ii) through (vi) of this
       section regarding a member of the news media that is not the subject or
       target of an investigation and suspected of having committed an offense
       may only be authorized if the authorizing official determines that, for
       compelling reasons, disclosure would pose a clear and substantial threat
       to the integrity of the investigation or would pose the risks described
       in paragraph (c)(3) of this section and the application otherwise complies
       with applicable statutory standards and Department policies.
       (4) An application for a non-disclosure order sought in connection with
       compulsory legal process under paragraph (d)(1)(i) of this section regarding
       a member of the news media that is a subject or target of an investigation
       and suspected of having committed an offense may be authorized if the
       application otherwise complies with applicable statutory standards and
       Department policies.
       (5) Members of the Department must move to vacate any non-disclosure
       order when notice of compulsory legal process to the affected member of
       media is required (after any extensions permitted) by paragraph (j) of this
       section.
     (l) Exigent circumstances involving risk of death or serious bodily harm.
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 13 of 16 PageID 236




       (1) A Deputy Assistant Attorney General for the Criminal Division may
       authorize the use of compulsory legal process that would otherwise
       require authorization from the Attorney General or the Deputy Attorney
       General if the Deputy Assistant Attorney General for the Criminal
       Division determines that:
         (i) The exigent use of such compulsory legal process is necessary to
         prevent the risks described in paragraph (c)(3) of this section; and
         (ii) Those exigent circumstances require the use of such compulsory
         legal process before the authorization of the Attorney General or the
         Deputy Attorney General can, with due diligence, be obtained.
       (2) In authorizing the exigent use of compulsory legal process, a Deputy
       Assistant Attorney General for the Criminal Division should take into
       account the principles set forth in paragraph (a) of this section; ensure that
       the proposed process is narrowly tailored to retrieve information or
       records required to prevent or mitigate the associated imminent risk; and
       require members of the Department to comply with the safeguarding
       protocols described in paragraph (p) of this section.
       (3) As soon as possible after the approval by a Deputy Assistant Attorney
       General for the Criminal Division of a request under paragraph (l)(1) of this
       section, the Deputy Assistant Attorney General must provide notice to the
       designated authorizing official, the Deputy Attorney General, and the
       Director of the Office of Public Affairs. Within 10 business days of the
       authorization under paragraph (l)(1) of this section, the United States
       Attorney or Assistant Attorney General responsible for the matter shall
       provide a statement to the designated authorizing official containing the
       information that would have been provided in a request for prior
       authorization.
     (m) Arresting or charging a member of the news media.
       (1) Except as provided in paragraph (m)(2) of this section or in
       circumstances in which prior authorization is not possible, members of the
       Department must obtain the authorization of the Deputy Attorney General
       to seek a warrant for an arrest, conduct an arrest, present information to a
       grand jury seeking a bill of indictment, or file an information against a
       member of the news media.
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 14 of 16 PageID 237




       (2) Except in circumstances in which prior authorization is not possible,
       when the arrest or charging of a member of the news media
       under paragraph (m)(1) of this section has no nexus to the person's or
       entity's activities as a member of the news media, members of the
       Department must obtain the authorization of a Deputy Assistant Attorney
       General for the Criminal Division and provide prior notice to the Deputy
       Attorney General.
       (3) When prior authorization was not possible, the member of the
       Department must ensure that the designated authorizing official is notified
       as soon as possible.
     (n) Applications for authorizations under this section.
       (1) Whenever any authorization is required under this section, the
       application must be personally approved in writing by the United States
       Attorney or Assistant Attorney General responsible for the matter.
       (2) Whenever the authorizing official under this section is the Attorney
       General or the Deputy Attorney General, the application must also be
       personally approved in a memorandum by the Assistant Attorney General
       for the Criminal Division.
       (3) The member of the Department requesting authorization must provide
       all facts and applicable legal authority necessary for the authorizing official
       to make the necessary determinations, as well as copies of the proposed
       compulsory legal process and any other related filings.
       (4) Whenever an application for any authorization is made to the Attorney
       General or the Deputy Attorney General under this section, the application
       must also be provided to the Director of the Office of Public Affairs for
       consultation.
     (o) Filter protocols.
       (1) In conjunction with the use of compulsory legal process, the use of filter
       protocols, including but not limited to keyword searches and filter teams,
       may be necessary to minimize the potential intrusion into newsgathering-
       related materials that are unrelated to the conduct under investigation.
       (2) While the use of filter protocols should be considered in all matters
       involving a member of the news media, the use of such protocols must be
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 15 of 16 PageID 238




       balanced against the need for prosecutorial flexibility and the recognition
       that investigations evolve, and should be tailored to the facts of each
       investigation.
       (3) Unless compulsory legal process is sought pursuant to paragraph (i) or
       (l) of this section, members of the Department must use filter protocols
       when the compulsory legal process relates to a member of the news media
       acting within the scope of newsgathering or the compulsory legal process
       could potentially encompass newsgathering-related materials that are
       unrelated to the conduct under investigation. The Attorney General or the
       Deputy Attorney General may waive the use of filter protocols only upon
       an express finding that there is a de minimis risk that newsgathering-
       related materials that are unrelated to the conduct under investigation
       would be obtained pursuant to the compulsory legal process and that any
       filter protocol would pose a substantial and unwarranted investigative
       burden.
       (4) Members of the Department should consult the Justice Manual for
       guidance regarding the use of filter protocols to protect newsgathering-
       related materials that are unrelated to the conduct under investigation.
     (p) Safeguarding. Any information or records that might include
     newsgathering-related materials obtained from a member of the news
     media or from third parties pursuant to the policy in this section must be
     closely held so as to prevent disclosure of the information to unauthorized
     persons or for improper purposes. Members of the Department must
     consult the Justice Manual for specific guidance regarding the safeguarding
     of information or records obtained from a member of the news media or
     from third parties pursuant to this section and regarding the destruction and
     return of information or records as permitted by law.
     (q) Privacy Protection Act. All authorizations pursuant to this section must
     comply with the provisions of the Privacy Protection Act (PPA), 42 U.S.C.
     2000aa(a) et seq. Members of the Department must consult the Justice
     Manual for specific guidance on complying with the PPA. Among other things,
     members of the Department are not authorized to apply for a warrant to
     obtain work product materials or other documentary materials of a member
     of the news media under the PPA suspect exception, see 42 U.S.C.
Case 8:23-mc-00014-WFJ-SPF Document 33-3 Filed 08/09/23 Page 16 of 16 PageID 239




     2000aa(a)(1) and (b)(1), if the sole purpose is to further the investigation of a
     person other than the member of the news media.
     (r) Anti-circumvention. Members of the Department shall not direct any third
     party to take any action that would violate a provision of this section if taken
     by a member of the Department.
     (s) Failure to comply. Failure to obtain the prior authorization required by
     this section may constitute grounds for an administrative reprimand or other
     appropriate disciplinary action.
     (t) General provision. This section is not intended to, and does not, create
     any right or benefit, substantive or procedural, enforceable at law or in
     equity by any party against the United States, its departments, agencies, or
     entities, its officers, employees, or agents, or any other person.
     [AG Order No. 5524-2022, 87 FR 66240, Nov. 3, 2022]
